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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

  UNITED STATES OF AMERICA                 )
                                           )
  V.                                       )     CR. NO. 07-00047-008
                                           )
  LADAWN JAMARCUS BURKS,                   )
  USM No: 09731-003,                       )
                                           )
        Defendant.                         )

                                         ORDER

        This matter is before the court on the United States’ Motion to Modify Crack

  Cocaine Sentence Reduction (Doc. 583).

        Upon due consideration of the grounds presented, the court finds that the

  United States’ motion is well taken and hereby GRANTS the motion. Therefore,

  this court’s order issued on December 21, 2011 (Doc. 576) is AMENDED, and the

  defendant’s previously imposed sentence of imprisonment of 87 months is reduced

  to 70 months instead of time served.

        DONE and ORDERED this 4th day of January, 2012.


                                           /s/ Callie V. S. Granade
                                           UNITED STATES DISTRICT JUDGE
